     Case: 1:16-cv-08297 Document #: 98 Filed: 05/22/19 Page 1 of 1 PageID #:358

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Bea Sullivan−Knoff
                                    Plaintiff,
v.                                                      Case No.: 1:16−cv−08297
                                                        Honorable Andrea R. Wood
City of Chicago, The, et al.
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 22, 2019:


       MINUTE entry before the Honorable Andrea R. Wood: Motion by counsel to
withdraw as attorney [94] and [96] are granted. Attorney Abby Dana Bakos and Tara D.
Kennedy are withdrawn as counsel of record. The motion presentment dates of 5/23/2019
and 5/30/2019 are stricken; parties need not appear. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
